
PER CURIAM.
On the authority of Canakaris v. Canakaris, 382 So.2d 1197 (Fla.1980), we affirm the order of modification and payment of arrearages except as to the following. The appellant is entitled to recover the full amount vested for unreimbursed medical insurance premiums. Additionally, the portion of the order eliminating the appellee’s obligation to pay the insurance premiums is beyond the scope of the pleadings. Therefore, we reverse in part and remand with directions to increase the amount of arrear-ages to be paid by two thousand one hundred forty dollars ($2,140.00), and to reinstate the payments due for medical insurance premiums.
LETTS, DELL and STONE, JJ., concur.
